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   LIMITED and Q CYBER TECHNOLOGIES LIMITED
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 8                              UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA

10                                   OAKLAND DIVISION

11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
13   corporation,                                 DECLARATION OF AARON S. CRAIG
                  Plaintiffs,                     IN SUPPORT OF DEFENDANTS NSO
14                                                GROUP TECHNOLOGIES LIMITED
            v.                                    AND Q CYBER TECHNOLOGIES
15                                                OMNIBUS MOTION TO SEAL
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,            Judge: Hon. Phyllis J. Hamilton
17
                  Defendants.                     Action filed: 10/29/2019
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     DECLARATION OF AARON S. CRAIG                                      Case No. 4:19-cv-07123-PJH
     ISO OMNIBUS MOT. TO SEAL
     Case 4:19-cv-07123-PJH         Document 677-1        Filed 04/04/25     Page 2 of 3




 1           1.    I am an attorney admitted to practice law before this Court and duly licensed to

 2 practice in the State of California. I am a partner at the law firm King & Spalding LLP, representing

 3 Defendants in the above-captioned action. I submit this declaration in support of Defendants’

 4 Omnibus Motion to Seal. I have personal knowledge of the facts stated herein, and if called upon

 5 to do so, could and would competently testify thereto.

 6           2.    The following exhibits are true and correct copies of documents that have been

 7 provisionally filed under seal and as to which Defendants propose redacting limited portions that

 8 contain personally identifying information of non-testifying employees or contain discussion of

 9 certain foreign proceedings.

10           3.    Exhibit A is Exhibits 8-10, 13-15, 20, 22, 32, and 35-36, to the Declaration of Micah

11 G. Block in Support of Plaintiffs’ Motion for Partial Summary Judgment, provisionally filed under

12 seal at Dkt. No. 399-4. These documents contain personally identifiable information of non-

13 testifying employees. The portions of each exhibit that Defendants seek to redact are highlighted

14 yellow.

15           4.    Exhibit B is Exhibits 8, 10-12, 17, 30-34 and 43 to the Declaration of Micah G.

16 Block in Support of Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment,

17 provisionally filed under seal at Dkt. No. 418-5. These documents contain personally identifying

18 information of non-testifying employees, except for Exhibit 43 which contains discussion of certain

19 foreign proceedings. The portions of each exhibit that Defendants seek to redact are highlighted

20 yellow.

21           5.    Exhibit C is Exhibit 41 to the Reply Declaration of Micah G. Block in Support of

22 Plaintiffs’ Reply in Support of Motion for Partial Summary Judgment, provisionally filed under seal

23 at Dkt. No. 436-4. This document contains personally identifiable information of non-testifying

24 employees. The portions of each exhibit that Defendants seek to redact are highlighted yellow.

25           6.    Exhibit D is Exhibits A, D-G, I and L to the Declaration of Micah G. Block in

26 Support of Plaintiffs’ Motion for Sanctions, provisionally filed under seal at Dkt. No. 405-4. These

27 documents contain discussion of certain foreign proceedings. The portions of each exhibit that

28 Defendants seek to redact are highlighted yellow.
     DECLARATION OF AARON S. CRAIG
     ISO OMNIBUS MOT. TO SEAL                        1                         Case No. 4:19-cv-07123-PJH
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 1         7.      Exhibit E is a declaration I previously signed in support of Defendants’ earlier

 2 Omnibus Motion to Seal, provisionally filed under seal at Dkt. No. 550-2 and attached hereto for

 3 the convenience of the Court.

 4         I declare under the penalty of perjury and the laws of the United States that the foregoing is

 5 true and correct this 4th day of April 2024, at Los Angeles, California

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 8                                               /s/ Aaron S. Craig
                                                 Aaron S. Craig
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     DECLARATION OF AARON S. CRAIG
     ISO OMNIBUS MOT. TO SEAL                        2                         Case No. 4:19-cv-07123-PJH
